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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Weifang Tengyi Jewelry Trading Co. Ltd
                                               Plaintiff,
v.                                                           Case No.: 1:18−cv−04651
                                                             Honorable Gary Feinerman
ExtraFind, et al.
                                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, November 27, 2018:


       MINUTE entry before the Honorable Gary Feinerman:Given Plaintiff's filing of a
motion to sever [125], the order to show cause [119] is discharged. Oppositions (if any) to
the motion to sever [125] shall be filed by 12/10/2018; reply due by 12/17/2018. Motion
hearing set for 11/29/2018 [126] is stricken.Mailed notice.(jlj, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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